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        EXHIBIT 1
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                       SENT VIA EMAIL: FOIA@hq.dhs.gov

                      SENT TO USCIS VIA ONLINE PORTAL

                  SENT TO CBP VIA SecureRelease PORTAL

March 8, 2023

Privacy Office, Mail Stop 0655
Department of Homeland Security
2707 Martin Luther King Jr. AVE SE
Washington, DC 20528-065

National Records Center
FOIA/PA Office
U.S. Citizenship and Immigration Services
P.O. Box 648010
Lee’s Summit, MO 64064-8010

FOIA Office,
U.S. Customs and Border Protection
90 K Street, NE
MS 1181
Washington, DC 20229



Dear FOIA Officers,

       Pursuant to the Freedom of Information Act, 5 U.S.C. § 552, and the
implementing FOIA regulations of the Department of Homeland Security (DHS),
Office of the Secretary, 6 CFR Part 5, I respectfully request the following records (or
records containing the following information) that DHS, U.S. Customs and Border
Protection (CBP), and U.S. Citizenship and Immigration Services (USCIS) have
within its possession:

Section 1) All records within the Alien File (A-File) of Prince Henry Charles
   Albert David (Date of Birth 09/15/1984) of the British Royal Family aka Prince
   Harry aka His Royal Highness Prince Henry of Wales aka the Duke of Sussex,
   including but not limited to:
      • Any and all applications for immigration benefits filed, whether or not
          adjudicated;
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      •    Any and all Forms I-213;
      •    Any and all Forms I-275; and
      •    Any and all Forms I-877.

Section 2) All records pertaining to the Duke of Sussex in the following system of
   records maintained by CBP and DHS
      • Automated Targeting System (ATS, DHS/CBP-006);
      • Advance Passenger Information System (APIS, DHS/CBP-005);
      • Border Crossing Information System (BCIS, DHS/CBP-007);
      • U.S. Customs and Border Protection TECS (DHS/CBP-011);
      • Non-Federal Entity Data System (NEDS, DHS/CBP-008);
      • DHS Use of the Terrorist Screening Database (TSDB) System of Records
          (DHS/ALL-030);
      • CBP Intelligence Records System (CIRS, DHS/CBP-024);
      • DHS Automated Biometric Identification System (IDENT, DHS/USVISIT-
          004);
      • Electronic System for Travel Authorization (ESTA, DHS/CBP-009);
      • Nonimmigrant Information System (NIIS, DHS/CBP-016);
      • Arrival and Departure Information System (ADIS, DHS/CBP-021);and
      • Electric Visa Update System (EVUS., DHS/CBP-022).

Section 3) All records relating to any requests for waiver pursuant to Section
   212(d)(3) of the Immigration and Nationality Act including, but not limited to,
   email communications within the DHS Office of the Secretary, the USCIS Office
   of the Director, the CBP Office of the Commissioner, or any subordinate office
   within those named departments or agency or a record of any communication
   between any of those named entities and the U.S. Department of Stater, the U.S.
   Embassy in London, the Federal Bureau of Investigation, or U.S. Immigration
   and Customs Enforcement.

       The terms “pertaining to,” “referring,” “relating,” or “concerning” with respect
to any given subject means anything that constitutes, contains, embodies, reflects,
identifies, states, refers to, deals with, or is in any manner whatsoever pertinent to
that subject.

       The term “record” means any written, recorded, or graphic matter of any
nature whatsoever, regardless of how recorded, and whether original or copy,
including, but not limited to, the following: memoranda, reports, expense reports,
books, manuals, instructions, financial reports, working papers, records, notes,
letters, notices, confirmations, telegrams, receipts, appraisals, pamphlets,
magazines, newspapers, prospectuses, inter-office and intra-office communications,
electronic mail (emails), MMS or SMS text messages, instant messages, messaging
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systems (such as iMessage, Microsoft Teams, WhatsApp, Telegram, Signal, Google
Chat, Twitter direct messages, Lync, Slack, and Facebook Messenger), contracts,
cables, telexes, notations of any type of conversation, telephone call, voicemail,
meeting or other communication, bulletins, printed matter, computer printouts,
teletypes, invoices, transcripts, diaries, analyses, returns, summaries, minutes,
bills, accounts, estimates, projections, comparisons, messages, correspondence,
press releases, circulars, financial statements, reviews, opinions, offers, studies and
investigations, questionnaires and surveys, and work sheets (and all drafts,
preliminary versions, alterations, modifications, revisions, changes, and
amendments of any of the foregoing, as well as any attachments or appendices
thereto), and graphic or oral records or representations of any kind (including
without limitation, photographs, charts, graphs, microfiche, microfilm, videotape,
recordings and motion pictures), and electronic, mechanical, and electronic records
or representations of any kind (including, without limitation, tapes, cassettes, disks,
and recordings) and other written, printed, typed, or other graphic or recorded
matter of any kind or nature, however produced or reproduced, and whether
preserved in writing, film, tape, disk, videotape or otherwise. A record bearing any
notation not a part of the original text is to be considered a separate record. A draft
or non-identical copy is a separate record within the meaning of this term. By
definition a “communication” (as that term is defined herein) is also a “record” if the
means of communication is any written, recorded, or graphic matter of any sort
whatsoever, regardless of how recorded, and whether original or copy.

        The terms “and” and “or” should be construed broadly and either
conjunctively or disjunctively to bring within the scope of this request any
information which might otherwise be construed to be outside its scope. The terms
“all,” “any,” and “each” should each be construed as ‘encompassing any and all.
The singular includes the plural number, and vice versa. The present tense
includes the past and vice versa. The masculine includes the feminine and neuter
genders.

       The term “communication” means each manner or means of disclosure or
exchange of information (in the form of facts, ideas, inquiries, or otherwise),
regardless of means utilized, whether oral, electronic, by document or otherwise,
and whether in an in-person meeting, by telephone, facsimile, e-mail (desktop or
mobile device), text message, MMS or SMS message, messaging systems (such as
iMessage, Microsoft Teams, WhatsApp, Telegram, Signal, Google Chat, Twitter
direct messages, Lync, Slack, and Facebook Messenger), regular mail, telexes,
releases, or otherwise.

      “Communications with,” “communications from,” and “communications
between” means any communication involving the related parties, regardless of
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whether other persons were involved in the communication, and includes, but is not
limited to, communications where one party is cc’d or bcc’d, both parties are cc’d or
bcc’d, or some combination thereof.

        The term “employee” means a current or former: officer, director,
shareholder, partner, member, consultant, senior manager, manager, senior
associate, permanent employee, staff employee, attorney, agent (whether de jure, de
facto, or apparent without limitation), advisor, representative, attorney (in law or in
fact), lobbyist (registered or unregistered), borrowed employee, casual employee,
consultant, contractor, de facto employee, independent contractor, joint adventurer,
loaned employee, part-time employee, provisional employee, or subcontractor.

      Please consider all members of a document “family” to be responsive to the
request if any single “member” of that “family” is responsive, regardless of
whether the “family member” in question is “parent” or “child.”

       This request for records includes any attachments to those records or other
materials enclosed with those records when they were previously transmitted. To
the extent that an email is responsive to our request, our request includes all prior
messages sent or received in that email chain, as well as any attachments to the
email.

      In the interest of expediency and to minimize the research and/or duplication
burden on your staff, please send records electronically if possible. If this is not
possible, please notify me before sending to the mailing address listed below. If
access to this request will take longer than twenty business days, please let me
know when I might receive records or be able to inspect the requested records.
Please produce responsive documents as soon as they become available. In all cases,
please communicate with me at the below email address.

       Please comply fully with 5 U.S.C. § 552(b). Accordingly, without limitation to
the foregoing, if any portion of this request is denied for any reason, please provide
written notice of the records or portions of records that are being withheld and cite
each specific exemption of the Freedom of Information Act on which the agency
relies. Moreover, to the extent that responsive records may be withheld in part
produce all reasonably segregable portions of those records. Additionally, please
provide all responsive documents even if they are redacted in full.

Fee Waiver Request

      This request is primarily and fundamentally for non-commercial purposes. As
a 501(c)(3) nonprofit, Heritage Foundation does not have a commercial purpose and
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the release of the information requested is not in Heritage Foundation’s interest.
Heritage Foundation’s mission is to is to formulate and promote public policies
based on the principles of free enterprise, limited government, individual freedom,
traditional American values, and a strong national defense. Heritage Foundation
uses the information requested and analyzes it in order to educate the public
through social media, 1 broadcast media 2 (traditional and nontraditional) and press
releases. 3 This request is in the public interest in light of the potential revocation of
Prince Harry’s visa for illicit substance use4 and further questions regarding the
Prince’s drug use and whether he was properly vetted before entering the United
States.

       Because this is a request by a member of the news media for information of
public interest, made in my capacity as an author for the Daily Signal 5 (a major
news outlet 6), I actively gather information of potential interest to our Daily Signal
Audience, and I use my editorial skills to turn raw materials into a distinct work,
and I distribute that work to our Daily Signal audience through podcasts 7 or
articles. I request that you waive all applicable fees associated with this request.

If you deny this request for a fee waiver, please advise me in advance of the
estimated charges if they are to exceed $50. Please send me a detailed and itemized
explanation of those charges.

Request for Expedited Processing

       Pursuant to 6 C.F.R. § 5.5(e)(1)(iv), I request expedited processing for this
request. I certify the following statement of facts in support of expedited processing
to be true and correct pursuant to 6 C.F.R. § 5.5(e)(1)(iv).

Background:

      1. The following factual Appendices are attached and expressly incorporated
herein and made part of this request (as are the factual sources cited therein):

1
  Heritage Foundation. [@ Heritage] (2022, February 18). 626.8K Followers Twitter. https://twitter.com/Heritage
2
  Fox News. (2022, February 18). Heritage Foundation launches Conservative Oversight Project aimed at 'exposing'
Biden admin, leftist policies. https://www.foxnews.com/politics/heritage-conservative-oversight-project-biden-
admin-leftist-policies
3
  Heritage Foundation. (2022, February 18) Press. https://www.heritage.org/press .
4
  https://www.express.co.uk/news/royal/1743247/Prince-Harry-US-visa-at-risk-drug-use-admission-Piers-Morgan-
dxus
5
  Daily Signal. (2022, February 18). Mike Howell. https://www.dailysignal.com/author/mike-howell/
6
  Daily Signal. [@DailySignal] (2022, February 18). 73.7K Followers Twitter. https://twitter.com/DailySignal
7
  Apple. (2022, March 4) The Daily Signal Podcast. https://podcasts.apple.com/us/podcast/the-daily-signal-
podcast/id1313611947
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   •   Appendix A is a compilation of news articles and national TV transcripts
       covering the issue of substance abuse by Prince Harry, including the Prince’s
       own admissions regarding the use of drugs such as cocaine and marijuana in
       his recent book “Spare.”

Expedited processing is warranted under 6 C.F.R. § 5.5(e)(1)(iv).

       1.    This section provides that requests for expedited processing “will” be
granted when the request involves “[a] matter of widespread and exceptional media
interest in which there exist possible questions about the government's integrity
which affect public confidence.”

      Section 6 C.F.R. § 5.5(e)(1)(iv) mirrors the Department of Justice regulation
governing expedited processing, 28 C.F.R. § 16.5(e)(1)(iv), which provides that
expedited processing shall be granted regarding “[a] matter of widespread and
exceptional media interest in which there exists possible questions about the
government’s integrity which affect public confidence.”

             Courts have held that the DOJ Regulation requires the requester to
show: (1) that the request involves a “matter of widespread and exceptional media
interest” (28 C.F.R. § 16.5(e)(1)(iv)); and (2) that the matter is one “in which there
exists possible questions about the integrity of the government that affect public
confidence” (id.). See Edmonds v. FBI, No. 02-cv-1294 (ESH), 2002 WL 32539613,
*3 (D.D.C. Dec. 3, 2002). It is not necessary to show “prejudice or a matter of
current exigency to the American public.” Id.

       First, the DOJ Regulation requires showing that the matter about which
questions of integrity have been raised is the subject of widespread national media
attention. See Am. Oversight v. DOJ, 292 F.Supp.3d 501, 507–508 (D.D.C. 2018)
(denying motion for expedited processing because general media interest in
Solicitor General’s nomination is insufficient to show media interest in possible
ethics questions concerning the nomination). There need not be a showing that the
disclosure would shed considerable light on agency operations; only that there is
“exceptional” and “widespread” media interest. See CREW v. DOJ, 870 F.Supp.2d
70, 81 (D.D.C. 2012), rev’d on other grounds, 746 F.3d 1082 (D.C. Cir. 2014). While
the media interest need be “widespread” and “exceptional” it need not be
overwhelming. See ACLU, 321 F.Supp.2d at 31–32 (rejecting DOJ’s position that
requester’s citation to what the court described as “only a handful of articles” was
insufficient to show “widespread and exceptional media interest” because those
articles “were published in a variety of publications and repeatedly reference the
ongoing national discussion about the Patriot Act and Section 215” (second
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quotation added)); Edmonds, 2002 WL 32539613, at *3 (numerous national
newspaper and network television broadcasts concerning whistleblower’s
allegations of security lapses in FBI translator program met test). 8

       Second, the DOJ Regulation requires showing that “‘there exists possible
questions about the government’s integrity that affect public confidence.’” CREW v.
DOJ, 436 F.Supp.3d 354, 361 (D.D.C. 2020) (quoting 28 C.F.R. § 16.5(e)(1)(4))
(emphasis by Court). 9 It does not “require the requester to prove wrongdoing by the
government in order to obtain documents on an expedited basis.” Id. at 362. “The
primary way to determine whether such possible questions exist is by examining
the state of public coverage of the matter at issue, and whether that coverage
surfaces possible ethics issues so potentially significant as to reduce public
confidence in governmental institutions.” Am. Oversight v. DOJ, 292 F.Supp.3d
501, 508 (D.D.C. 2018). This is not an extraordinarily high bar. See, e.g., CREW,
436 F.Supp.3d at 361 (complaint sufficient to survive a motion to dismiss where it
alleged Attorney General’s action regarding disclosure of Mueller Report “supported
an inference that at best, the Attorney General undertook to frame the public
discussion on his own terms, and at worst that he distorted the truth”); ACLU v.
DOJ, 321 F.Supp.2d 24, 32 (D.D.C. 2004) (allegations in press that Section 215 of
the Patriot Act may be unconstitutional and reports that Members of Congress
have alleged abuses of Section 215 “implicate[] government integrity” and hence are
sufficient to meet test); Edmonds, 2002 WL 32539613, at *3–4 (test met where
plaintiff alleged security lapses in FBI translators program, national news covered
the issue, and two Senators expressed concern regarding “the significant security
issues raised by plaintiff’s allegations and the integrity of the FBI”). 10


8  Cf. 28 C.F.R. § 16.5(e)(3) (“The existence of numerous articles published on a given subject can be
helpful in establishing the requirement that there be an ‘urgency to inform’ the public on the topic.”).
9 To be sure, this standard does not require expedition of any questions concerning government

integrity. See, e.g., White v. DOJ, 16 F.4th 539, 544 (7th Cir. 2021) (test not met in case where
records sought to cast doubt on requestors’ criminal conviction where requestor claimed he was
subject to an elaborate government sting operation).
10 DOJ has granted expedition under the DOJ Regulation in a number of circumstances. See, e.g.,

CREW v. DOJ, 870 F.Supp.2d at 81 n. 14 (expedition granted to request seeking records on FBI’s
closed investigation of Congressman DeLay for misconduct which did not result in charges, but
received considerable media attention (subsequent history omitted)); CREW v. DOJ, 820 F.Supp.2d
39, 42, 46 (D.D.C. 2011) (expedition granted to request seeking information concerning possible
deletion of Office of Legal Counsel emails where the possible deletion was flagged as a hindrance in
an internal investigation, covered in the media, and was the subject of Congressional concerns); Elec.
Frontier Found. v. DOJ, 565 F.Supp.2d 188, 189–91 (D.D.C. 2008) (expedition granted to request
seeking information regarding storage of information obtained by National Security Letters in FBI’s
Data Warehouse); CREW v. DOJ, No. 05-cv-2078 (EGS), 2006 WL 1518964, *1 (D.D.C. June 1, 2006)
(expedition granted to request concerning government’s decision to seek a reduced penalty in tobacco
litigation where government’s decision was subject to intensive news coverage and prompted concern
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        2.    I am requesting expedited processing for this FOIA request to
understand whether Prince Harry was properly vetted prior to or during admission
into the United States. National media outlets have widely reported on Prince
Harry’s drug use which, pursuant to the Immigration and Nationality Act, should
make him inadmissible to the United States absent the requisite waiver available to
non-immigrants. See generally App. A. Specifically, multiple media outlets have
consistently reported on Prince Harry’s abuse of multiple illicit substances,
including marijuana, cocaine, “magic mushrooms,” and other psychedelic drugs. See
App. A at 6, 8–9, 15, 19, 21–22, 24, 27, 34, 38, 46, 49, 52–53, 55–56, 59, 73, 87, 92,
94, 96–97, 100, 106–107, 114–115, 118, 121–122. From media reports, it appears
this drug use was continuous and substantial, at the very least from the Prince’s
teenage years into his “late 20s.” See App. A at 106, 114. Media coverage has even
included reports that Prince Harry became addicted to cocaine, heroin, ketamine,
and MDMA. See App. A at 122. This conduct likely violated numerous laws in
relevant jurisdictions. It is unclear at this juncture whether DHS complied with the
law if, in admitting Prince Harry, did so without a waiver or any interview with
CBP to assess whether, given his history, he was admissible to the United States.
As a result, this widespread media interest in Prince Henry’s drug abuse inevitably
raises possible questions regarding his application for residency in the United
States. Public confidence in the government would undoubtedly suffer if DHS,
CBP, and USCIS failed to properly vet such a high-profile case. Moreover, if Prince
Harry was granted preferential treatment that to would undermine public
confidence in DHS, CPB, and USCIS’s application of equal justice under the law.
Expedition is warranted.

Thank you in advance for considering my request. If you have any questions please
contact me at oversightproject@heritage.org.

                                             Sincerely,

                                             Mike Howell
                                             Senior Advisor &
                                             Author at The Daily Signal
                                             The Heritage Foundation
                                             214 Massachusetts Ave
                                             Washington, DC 20002




from “several Congressman” which caused a request for an Inspector General investigation of
“improper political interference” with the decision).
